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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

KENNETH GOLDSMITH,                                    CIVIL DIVISION

                                                      No. 2:16-cv-01362-MRH
                          Plaintiff,
                                                      Judge Mark R. Hornak

          v.                                          Electronically Filed

FREDERICK BAER GOLDSMITH, et al..,


                          Defendants.

                     FREDERICK GOLDSMITH’S STATUS UPDATE WITH
                   RESPECT TO THE COURT’S ORDER DATED APRIL 7, 2017

          Pursuant to this Court’s Order dated April 7, 2017, at the estate sale at 5607 Aylesboro

Avenue, Pittsburgh, Pennsylvania, that took place on April 8 and 9, 2017, special precaution was

taken to ensure that no computers, computer hard drives, electronic storage media, or legal

papers that belonged to Plaintiff Kenneth D. Goldsmith were sold, disposed of, or otherwise

removed from the property in the course of the sale. During the course of the sale, one twelve

(12) page legal paper related to a case titled Costance Lampenfield Lucey v. Ken Goldsmith was

located at 5607 Aylesboro Avenue, Pittsburgh, Pennsylvania. This legal paper has been

preserved in its original form and will be delivered to Plaintiff at an address of his choosing upon

Plaintiff’s Request.

                                              Respectfully Submitted,

                                              ROBB LEONARD MULVIHILL LLP


Date: 4/20/2017                                /s/ Joshua R. Guthridge______________________
                                              R. Sean O’Connell, Esquire
                                              Joshua R. Guthridge, Esquire
                                              Attorneys for Defendant Frederick Baer Goldsmith

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